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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                       CAUSE NO.: 1:21-CR-268
                             §
JEFFREY MCKELLOP             §

                    JOINT ENTRY OF APPEARANCE OF COUNSEL

         Please be advised that we have been retained to represent Mr. McKellop in the
above referenced matter. Please enter our names as Attorneys of Record and direct any
future communication regarding this matter to our attention. Your assistance is greatly
appreciated. Should you have any questions, or require any further information from us,
please do not hesitate to contact our office.
         We understand that it is our duty to continue to represent the above-named
defendant in connection with all matters relating to this case, and in connection with all
proceedings therein in this court, unless and until, after filed written motion, the
undersigned are relieved by Order of the Court.


Dated: February 2, 2023

/S/ PHILLIP A. LINDER                             /S/ JAMES LEE BRIGHT
PHILLIP A. LINDER                                 JAMES LEE BRIGHT
ATTORNEY AT LAW                                   ATTORNEY AT LAW
STATE BAR NO.: 12363560                           STATE BAR NO.: 24001786
3300 OAK LAWN AVENUE, SUITE 700                   3300 OAK LAWN AVENUE, SUITE 700
 DALLAS, TEXAS 75219                              DALLAS, TEXAS 75219
OFFICE: 214-252-9900                              OFFICE: 214-720-7777
PHILLIP@THELINDERFIRM.COM                         JLBRIGHTLAW@GMAIL.COM


                              CERTIFICATE OF CONFERENCE

       Counsel conferred with Assistant United States Attorney, Shalin Nohria, earlier in
January who indicated he would not oppose this Entry of Appearance of counsel.


                                                     _/S/ PHILLIP A. LINDER
                                                     ATTORNEY FOR DEFENDANT



JOINT ENTRY OF APPEARANCE OF COUNSEL- MCKELLOP                                          1
